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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 McALLEN DIVISION
ESTATE OF GABRIEL MIRANDA, Jr. §
MARIA FUENTES,             §
GABRIEL MIRANDA, Sr.,      §
ALEXANDRIA SUZANNE DELEON,§
REUBEN ANTONIO DELEON III, §
and JON HIDALGO DOE        §                   C.A. No. _________________
Individually and On Behalf of All §
Other Similarly Situated Plaintiffs §
          Plaintiffs                    §
vs.                                     §
                                        §
NAVISTAR, INC.                          §
NAVISTAR INTERNATIONAL           §
  CORPORATION                    §
IC BUS, LLC, and                 §
IC BUS OF OKLAHOMA, LLC          §
      Defendants                 §
________________________________________________________________________

                         PLAINTIFFS’ ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

          COME NOW, Plaintiffs the ESTATE OF GABRIEL MIRANDA, JR.,

MARIA FUENTES, GABRIEL MIRANDA, Sr., ALEXANDRIA SUZANNE

DELEON, REUBEN ANTONIO DELEON III, and JON HIDALGO DOE on

behalf of themselves and all others similarly situated, being the “Class Members” to

file this their “Plaintiffs’ Original Complaint” as follows:




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                                        PREAMBLE

                  Failed or Non-Existent Safety Measures of School Bus
                               cause death of 13 year old.

       On November 14, 2016, Gabriel Miranda, Jr., age 13, fell, or was pushed,
out of the emergency door exit of a school bus traveling at approximately 65 mph.
This is a suit for damages stemming from the negligent design and manufacture of
the school bus which resulted in Failed or Non-Existent Safety Measures, causing
the death of Littler Gabriel.

                               A.        NATURE OF SUIT

          1.     At all times relevant to this proceeding, Plaintiff Little Gabriel (defined

hereafter) was a thirteen year old attending Harlingen CISD (defined hereafter).

Riding a school bus, carrying Little Gabriel and other classmates on a field trip, Little

Gabriel fell, or was pushed, out of the emergency door exit of the school bus he was

on, which was traveling at approximately 65 mph. Little Gabriel did not survive.

                                B. JURISDICTION and VENUE

          2.     The jurisdiction of this Court is in accordance with the diversity of

citizens of different states and an amount in controversy of over $75,000.00 pursuant

to 28 U.S. Code § 1332.

          3.     Venue is proper in the Southern District of Texas (McAllen Division)

because all the actions of the Defendants manifested into horror in Hidalgo County,

Texas, which is within the McAllen Division of the Southern District of Texas in the

United States Federal District Courts.

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                            C. PARTIES AND SERVICE

          4.     Plaintiff ESTATE OF GABRIEL MIRANDA, JR. (“Estate” or “Little

Gabriel”) was formed under the laws of the State of Texas with regards to Plaintiff

Little Gabriel, who resided in the State of Texas, was the son of Plaintiffs Gabriel

Miranda, Sr. and Maria Fuentes, and was the brother to Plaintiffs Alexandra Suzanne

Deleon, Reuben Antonio Deleon III, and Jon Hidalgo Doe.

          5.     Plaintiff MARIA FUENTES (“Maria”) is an individual residing in the

State of Texas, was the mother of Plaintiff Little Gabriel, is married to Plaintiff

Gabriel Miranda, Sr., and is the mother of Plaintiffs Alexandra Suzanne Deleon,

Reuben Antonio Deleon III, and Jon Hidalgo Doe.

          6.     Plaintiff GABRIEL MIRANDA, Sr. (“Gabriel”) is an individual

residing in the State of Texas, was the father of Plaintiff Little Gabriel, is married to

Plaintiff Maria, and is the father of Plaintiff Jon Hidalgo Doe.

          7.     Plaintiff ALEXANDRA SUAZNNE DELEON (“Alexandria”) is an

individual residing in the State of Texas, was the sister to Plaintiff Little Gabriel, and

is the sister to Plaintiffs Reuben Antonio Deleon III and Jon Hidalgo Doe.

          8.     Plaintiff REUBEN ANTONIO DELEON III (“Reuben”) is an

individual residing in the State of Texas, was a brother to Plaintiff Little Gabriel, and

is a brother to Plaintiffs Alexandria and Jon Hidalgo Doe.

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          9.     Plaintiff JON HIDALGO DOE (“JDoe”) (at the time the Little

Gabriel’s Death (defined hereafter) was a ten year old minor residing in the State of

Texas, was a brother to Plaintiff Little Gabriel, and is a brother to Plaintiffs Reuben

and Alexandria. This claim for relief by Plaintiff JDoe is being brought by Plaintiffs

Maria and Gabriel, as the Next Friends of Plaintiff JDoe.

          10.    Defendant NAVISTAR, INC. (“Navistar”) is an out of state corporation

registered and doing business in the State of Texas but not having a principal place

of business in the State of Texas and may be served with summons through its

registered agent for service of process as follows:

                                   NAVISTAR, INC.
                              c/o CT Corporation System
                                  1999 Bryan St #900
                                  Dallas, Texas 75201

This court has jurisdiction over Defendant Navistar in accordance with Section

17.042 of the Texas Civil Practice and Remedies Code because Defendant Navistar’s

acts constituting doing business in the State of Texas include but are not limited to

the following:

                       (1)   contracts by mail or otherwise with a Texas resident
                             and either party is to perform the contract in whole
                             or in part in this state;




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                         (2)   committed a tort in whole or in part in this state; or

                         (3)   recruits Texas residents, directly or through an
                               intermediary located in this state, for employment
                               inside or outside this state.

Further, as a result of such actions, Defendant Navistar has availed itself subject to

jurisdiction in Texas, which would be reasonable under the circumstances and would

not be violative of any constitutional right of fairness.

          11.      Defendant    NAVISTAR       INTERNATIONAL            CORPORATION

(“Navistar IC”) is an out of state corporation doing business in the State of Texas but

not having a principal place of business in the State of Texas and may be served with

summons through the Texas Secretary of State in accordance with Section 17.044(c)

of the Texas Civil Practice and Remedies Code by providing duplicate copies of the

required summons to the Texas Secretary of State as follows, who shall then forward

such summons to Defendant Navistar IC at the address below:

                       NAVISTAR INTERNATIONAL CORPORATION
                                c/o Texas Secretary of State
                            Service of Process Secretary of State
                                 James E. Rudder Building
                                  1019 Brazos, Room 105
                                    Austin, Texas 78701

                               FOR FURTHER SERVICE UPON:

                               Navistar International Corporation
                 Attn: Curt A. Kramer, Senior Vice-President & General Counsel
                                      2701 Navistar Drive
                                       Lisle, Illinois 60532
                                          331-332-5000
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This court has jurisdiction over Defendant Navistar IC in accordance with Section

17.042 of the Texas Civil Practice and Remedies Code because Defendant Navistar

IC’s acts constituting doing business in the State of Texas include but are not limited

to the following:

                      (1)   contracts by mail or otherwise with a Texas resident
                            and either party is to perform the contract in whole
                            or in part in this state;

                      (2)   committed a tort in whole or in part in this state; or

                      (3)   recruits Texas residents, directly or through an
                            intermediary located in this state, for employment
                            inside or outside this state.

Further, as a result of such actions, Defendant Navistar IC has availed itself subject

to jurisdiction in Texas, which would be reasonable under the circumstances, and

would not be violative of any constitutional right of fairness.

          12.    Defendant IC BUS LLC (“IC-Bus”) is an out of state corporation

registered and doing business in the State of Texas but not having a principal place

of business in the State of Texas and may be served with summons through its

registered agent for service of process as follows:

                                    IC BUS LLC
                             c/o CT Corporation System
                                 1999 Bryan St #900
                                 Dallas, Texas 75201



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This court has jurisdiction over Defendant IC-Bus in accordance with Section 17.042

of the Texas Civil Practice and Remedies Code because Defendant IC-Bus’s acts

constituting doing business in the State of Texas include but are not limited to the

following:

                      (1)   contracts by mail or otherwise with a Texas resident
                            and either party is to perform the contract in whole
                            or in part in this state;

                      (2)   committed a tort in whole or in part in this state; or

                      (3)   recruits Texas residents, directly or through an
                            intermediary located in this state, for employment
                            inside or outside this state.

Further, as a result of such actions, Defendant IC-Bus has availed itself subject to

jurisdiction in Texas, which would be reasonable under the circumstances, and would

not be violative of any constitutional right of fairness.

          13.    Defendant IC BUS OF OKLAHOMA, LLC (“IC-BusOK”) is an out

of state corporation doing business in the State of Texas but not having a principal

place of business in the State of Texas and may be served with summons through the

Texas Secretary of State in accordance with Section 17.044(c) of the Texas Civil

Practice and Remedies Code by providing duplicate copies of the required summons

to the Texas Secretary of State as follows, who shall then forward such summons to

Defendant IC-BusOK at the address below:


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                             IC BUS OF OKLAHOMA, LLC
                               c/o Texas Secretary of State
                           Service of Process Secretary of State
                                James E. Rudder Building
                                 1019 Brazos, Room 105
                                   Austin, Texas 78701

                           FOR FURTHER SERVICE UPON:

                          IC BUS OF OKLAHOMA, LLC
                    c/o The Corporation Trust, Registered Agent
                             Corporation Trust Center
                                1209 Orange Street
                            Wilmington, Delaware 19801

This court has jurisdiction over Defendant IC-BusOK in accordance with Section

17.042 of the Texas Civil Practice and Remedies Code because Defendant IC-

BusOK’s acts constituting doing business in the State of Texas include but are not

limited to the following:

                     (1)     contracts by mail or otherwise with a Texas resident
                             and either party is to perform the contract in whole
                             or in part in this state;

                     (2)     committed a tort in whole or in part in this state; or

                     (3)     recruits Texas residents, directly or through an
                             intermediary located in this state, for employment
                             inside or outside this state.

Further, as a result of such actions, Defendant IC-BusOK has availed itself subject to

jurisdiction in Texas, which would be reasonable under the circumstances, and would

not be violative of any constitutional right of fairness.

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                            D. GENERAL BACKGROUND

                                 Welcoming Little Gabriel

          14.    Although the temperature in Richmond, Texas reached a chilly 36

degrees on the day Plaintiff Little Gabriel was born (December 28, 2002), Little

Gabriel greeted his new world with a smile that would warm the heart of everyone.

          15.    Plaintiff Little Gabriel weighed 6 pounds, 5 ounces at birth and was

perfect in every possible way.

          16.    Little Gabriel’s birth gave tremendous joy not only to his mother and

father (being Plaintiffs Maria and Gabriel) but also to his grandparents, uncles, aunts,

numerous cousins, brother, and sister.

          17.    Little Gabriel’s life at home was a world of excitement and joy, filled

with countless hugs to and from his family.

                                          School Days

          18.    From pre-kindergarten through fifth grade, Plaintiff Little Gabriel

attended Travis Elementary School within the HARLINGEN CONSOLIDATED

INDEPENDENT SCHOOL DISTRICT (“Harlingen CISD”). Science and Music

were Little Gabriel’s favorite classes, with David Garza being his favorite teacher at

Travis Elementary School. Perhaps Mr. Garza was one of the reasons why music

would become such an important part of Little Gabriel’s life.

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          19.    For sixth grade in 2013, Plaintiff Little Gabriel moved up to Vernon

Middle School within Harlingen CISD, which would be the last school Little Gabriel

would ever attend in his young life.

          20.    At Vernon Middle School, Little Gabriel studied hard. As of the second

week in November 2016, Little Gabriel had a grade of 100 in each of the following

four of his classes:

                              Science;
                              American history;
                              School band; and
                              Physical education.

          21.    Plaintiff Little Gabriel’s love for music also continued to blossom. Little

Gabriel joined the Vernon Middle School Band and learned how to play the baritone

saxophone and saxophone.

          22.    One of Little Gabriel’s favorite songs was the 1946 contemporary pop

hit Beyond the Sea as arranged for the 2003 animated Disney movie Finding Nemo.

          23.    Little Gabriel had music everywhere in his life. He would Google songs

he liked, download the respective sheet music, and then sound out the notes on his

saxophone.

          24.    Whether pop hits from today to country, Tex-Mex, jazz classics,

Beethoven, Bach, or hits from the 50s through 70s, Little Gabriel loved them all.



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          25.    During the week of November 7, 2016, Little Gabriel’s hours of practice

on the baritone saxophone paid off as he was awarded “first chair” in the Vernon

Middle School band. Attached hereto as Exhibit “1” and incorporated herein by

reference is Little Gabriel smiling proudly in his band uniform.

          26.    So overjoyed with his band participation, Little Gabriel even designed a

t-shirt (“Band T-Shirt”) for the Vernon Middle School Band— “Free Hugs For

Everyone” surrounding a cute alien animal.

                                  The Day the Music Died

          27.    November 14, 2016 was a Monday. Plaintiff Little Gabriel awoke early,

excited about his upcoming field trip. Little Gabriel and his classmates from Vernon

Middle School would be going to visit The University of Texas Rio Grande Valley

Campus (“Field Trip”).

          28.    Being just a few miles away, Plaintiff Little Gabriel and his class would

board Harlingen CISD school buses for the quick trip to Edinburg.

          29.    Although Plaintiff Little Gabriel was only in the 8th grade, thoughts of

college were not far away. Little Gabriel had already taken early education

engineering courses at Texas State Technical College as a mean to obtain additional

certificates or degrees upon his high school graduation.



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          30.    On the morning of November 14, 2016, Plaintiff Little Gabriel

specifically reminded his mother (Plaintiff Maria) to be sure and order the Band T-

Shirts that Little Gabriel had designed.

          31.    Plaintiff Maria had no idea that her discussion with Plaintiff Little

Gabriel that morning about the Band T-Shirt would be the last words she ever spoke

with her precious son.

          32.    Plaintiff Little Gabriel and 40 others from his class at Vernon Middle

School boarded school bus #118 (“Bus #118”) which is owned and operated by

Harlingen CISD.

          33.    Before boarding Bus #118 for the Field Trip, Plaintiff Little Gabriel was

informed that he had been selected to play a “solo” piece at an upcoming band

performance.

          34.    Little Gabriel and some of his friends elected to sit at the rear of the Bus

#118 for the Field Trip.

          35.    By all accounts, the students on Bus #118 were boisterous and happy as

they left on the Field Trip.

          36.    However, at approximately 9:45:02 a.m. Monday, November 14, 2016,

Plaintiff Little Gabriel fell, or was pushed, out of the emergency exit door of Bus

#118 (“EEx. Door”).


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          37.    With Bus #118 traveling at approximately 65 miles per hour, there was

little chance Little Gabriel would survive such a fall (hereafter, “Little Gabriel’s

Fall”).

          38.    Sheriff’s Deputy James Prado of the Hidalgo County Sheriff’s

department was one of the first law enforcement personnel to arrive on the scene. The

description of what occurred next is taken verbatim from Deputy Prado’s incident

report:

                 “On Monday, November 14, 2016, Hidalgo Co. Sheriff's Deputy
                 James Prado #2216 responded to north of Canton Road on U.S.
                 281, regarding a child who fell out of a school bus on the
                 highway.

                 -     Deputy Prado moved north from Canton Road on the
                       northbound 281 frontage road, onto the on ramp.

                 -     Deputy Prado moved forward towards the end of the on
                       ramp and observed a small blue colored passenger car;
                       stationary facing north.

                 -     Deputy Prado saw a young man on his knees, without a
                       shirt and appeared to be holding another individual in his
                       arms.

                 -     Deputy Prado provided dispatch with the location and had
                       also observed a school bus (#38) parked on the shoulder of
                       the roadway, several yards away.

                 -     Deputy Prado ran towards to the two people and found a
                       young boy lying upward on the man's lap.


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                 -   A large amount of blood was exiting from the back of the
                     boy's head, while man appeared to have removed his t-
                     shirt to wrap it behind the boy's head.

                 -   The man told Deputy Prado that the boy wasn't breathing
                     and had no pulse.

                 -   Deputy Prado found blood around the boy's mouth and on
                     the man helping the boy.

                 -   Deputy Prado put on his latex rubber gloves, to start
                     checking the boy's vital signs.

                 -   Deputy Prado noticed the boy's chest wasn't rising and
                     wouldn't respond to the man as he kept talking to the boy.

                 -   A female individual approached Deputy Prado and said
                     there were three buses that were parked further up from
                     the scene.

                 -   The female said she heard a young girl inside bus #38
                     scream and had said the boy fell out of the bus.

                 -   Deputy Prado ran to his patrol unit, to get his medical gear bag.

                 -   Deputy Prado ran back to try and provide treatment for the boy.

                 -   Deputy Prado told the man to help him lay the boy down
                     flat on the ground, so CPR could be provided, in which his
                     body was adjusted so he could lie down.

                 -   Deputy Prado saw a female Edinburg Police Officer arrive
                     to assist and she told to start applying chest compressions
                     on the boy.

                 -   Deputy Prado checked his medical bag and wasn't able to
                     find an item to help the boy breath.


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                 -     Shortly afterwards, several Edinburg Police Officers
                       arrived on the scene.

                 -     Several Edinburg Firefighters had also arrived to provide
                       treatment for the boy.

                 -     Deputy Prado identified the female as [witness one] who
                       said she was on one of the school buses (#38) and was
                       chaperoning the students in the bus.

                 -     [Witness one] said she was with the Harlingen School
                       District, but wasn't sure exactly how the boy fell out of the
                       bus.

                 -     [Witness one] added that the boy’s name was Gabriel, but
                       didn’t know his grade or age.

                 -     Deputy Prado contacted the male individual, helping the
                       boy as [witness two].

                 -     [Witness two] said he was driving northbound on
                       Highway 281, when he saw the young boy lying on the
                       ground and stopped to help him.

                 -     [Witness two] said he saw the boy was bleeding a lot from
                       the back of his head.

                 -     [Witness two] told Deputy Prado that he took off his shirt
                       and wrapped it up, so he could try and stop the bleeding
                       on the boy's head.

                 -     [Witness two] said he didn't know who the boy was, but
                       that he had to do something.”

          39.    Sheriff’s Deputy Jose Lopez of the Hidalgo County Sheriff’s department

arrived at the scene to assist Deputy Prado. Deputy Lopez noted:

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                 “On November 14, 2016 at about 0947 hours I Hidalgo County
                 Sheriff's Office Deputy Jose Lopez #4040 was dispatched North
                 of Freddy Gonzalez Road on Expressway 281, Edinburg, Texas
                 in reference to Assist Agency Report. Dispatch advised that a
                 child possibly fell off a school bus.

                 -     Arrived at location and observed a school bus stationary
                       north of Sprague Road on Expressway 281.

                 -     Observed Edinburg Fire Department at location.

                 -     Proceeded to assist with traffic control by placing my unit
                       several hundred feet south from the scene.

                 -     Observed other Emergency units and Edinburg Police
                       units arrive at location.

                 -     Resumed patrol.

                 -     No further action taken.”

          40.    Emergency personnel raced Plaintiff Little Gabriel to Doctors Hospital

at Renaissance in Edinburg.

          41.    Plaintiff Gabriel was at the house with Maria that morning, and they

both raced out of their home with no real idea of what was happening to their son,

Plaintiff Little Gabriel.

          42.    By the time Maria and Gabriel finally arrived at Doctors Hospital at

Renaissance in Edinburg, Little Gabriel had been pronounced dead (hereafter, “Little

Gabriel’s Death”).



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          43.    Hundreds of family members and friends would gather to give their final

farewells to Little Gabriel.

          44.    To ensure that Little Gabriel’s plans for his Band T-Shirt came true,

Plaintiffs Maria and Gabriel ordered t-shirts made with Little Gabriel’s shirt design.

Plaintiffs Maria and Gabriel then donated the Band T-Shirts to the Vernon Middle

School Band.

                 Expectations and Representations of Safety as to Bus #118

          45.    Bus #118 was designed, manufactured, and made available for purchase

in the State of Texas by Defendants.

          46.    As publicly represented by Defendants:

                                SAFETY IS ALWAYS # 1

                 When it comes to safety, we have one goal-to build the safest
                 most reliable vehicles on the road. We go to great lengths to
                 identify, develop, and integrate the latest technology and
                 design elements into our vehicles, because our reputations,
                 and in many cases, our families are riding on them.
                 …
                 If technology exists to keep your driver and passengers safer,
                 we’ll find a way to integrate it into our vehicles.

          47.    When Plaintiff Little Gabriel boarded Bus #118 on November 14, 2016,

Plaintiffs Maria and Gabriel, Plaintiff Little Gabriel, and all the other Plaintiffs,

believed that Bus #118 would safely transport Little Gabriel to, and from, the Field

Trip.
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          48.    Each of the Plaintiffs expected that Plaintiff Little Gabriel would be

back at home later that day, playing music, and getting ready for another day of his

life.

          49.    Little did Plaintiffs’ know that their expectations of the safety of Bus

#118 were based on hollow representations and warranties of the Defendants, made

in a concerted effort to do nothing more than to generate sales and profit from the

sale of Defendants’ busses.

                 The Failed or Non-Existent Safety Measures of Bus #118.

          50.    By all accounts presently know by Plaintiffs, Bus #118 failed to provide

the following safety measures, any one of which could have prevented Plaintiff Little

Gabriel’s Death:

                 (a)   an emergency exit door that, under any circumstances
                       could not be opened, by anyone for any reason while
                       traveling at speeds of 60, 50, or even 40 mph;

                 (b)   an emergency exit door that could not be opened by
                       something, or someone, falling against the door;

                 (c)   an emergency exit door that could not be opened by
                       anyone (especially students) except in a true, emergency
                       situation;

                 (d)   electronic warning systems and alarms that would
                       properly and sufficiently alert the driver, and all riders of
                       the bus, that someone, or something, was attempting to
                       open the emergency exit door (hereafter, “Warning
                       Systems”);

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                 (e)   Warning Systems that would be audible to all on the bus;

                 (f)   Warning Systems that would provide the driver on the bus
                       with a real time, video feed of the emergency exit door;

                 (g)   Warning Systems that would, at all times, be visible to the
                       driver of the bus;

                 (h)   Warning Systems that would be triggered in a timely and
                       sufficient manner, allowing the driver of the bus to take
                       emergency actions to ensure that the emergency exit door
                       was being opened only in a true emergency;

                 (i)   automatic locking devices within the emergency exit door
                       that, under any circumstances, would prevent anyone, for
                       any reason, from opening the emergency exit door while
                       the bus was traveling at speeds of 60, 50, or even 40 mph;

                 (j)   an automatic, or manual override available to the driver of
                       the bus, which would lock the emergency exit door if the
                       emergency exit door was being opened while the bus was
                       traveling at speeds of 60, 50, or even 40 mph;

                 (i)   an emergency exit door that could not be opened merely
                       by students jostling with the interior handle of the
                       emergency exit door; and

                 (j)   seat belts for the students.

The foregoing, as well as additional measures which may be identified during

discovery of this matter, shall hereafter be referred to as the “Failed or Non-Existent

Safety Measures.”



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          51.    There was no emergency on Bus #118 when the EEx. Door was opened,

and Plaintiff Little Gabriel fell out.

          52.    But for the non-existence of, or the improper implementation or working

condition of, any one of the Failed or Non-Existent Safety Measures, Plaintiff Little

Gabriel would be alive today, with his family, planning for a long future.

                              Defendants’ actions in concert.

          53.    Each of the Defendants contributed to the design, manufacture, and

placement of Bus #118 into the distribution sale system within the State of Texas and

the United States.

          54.    While Defendants might be different corporate entities, each Defendant

is related to the other, and each shares in the responsibility for the Failed or Non-

Existent Safety Measures resulting in Plaintiff Little Gabriel’s Death.

          55.    The Failed or Non-Existent Safety Measures are well known by each of

the Defendants, and each of the Defendants’ generated sales revenue and profits from

the sale of school busses.

          56.    Upon information and belief, the Failed or Non-Existent Safety

Measures are not unique to Bus #118, but exist on perhaps hundreds, if not thousands,

of school busses designed, manufactured, and placed into the sale distribution system

of the State of Texas and within the United States by Defendants.


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          57.    Upon information and belief, Plaintiff Little Gabriel’s Death is but one

death and only one incident of numerous injuries, caused annually by the Failed or

Non-Existent Safety Measures of Defendants.

          58.    Upon information and belief, the Failed or Non-Existent Safety

Measures are not in compliance with laws and regulations of the State of Texas and

the United States.

                     Duties of Care, Representations, and Warranties

          59.    Each Defendant had a duty of care to each of the Plaintiffs and the Class

Members with regard to the safety of the school busses designed and manufactured

by Defendants. The existence of the Failed or Non-Existent Safety Measures was a

material breach of such duty of care and caused Plaintiff Little Gabriel’s Death, even

constituting gross negligence.

          60.    Each Defendant also made specific representations as to the safety of the

school busses designed and manufactured by Defendants. The existence of the Failed

or Non-Existent Safety Measures was a material breach of such representations and

caused Plaintiff Little Gabriel’s Death.

          61.    The actions of Defendants also created expressed and implied warranties

as to the safety of the school busses designed and manufactured by Defendants. The



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existence of the Failed or Non-Existent Safety Measures was a material breach of

such expressed and implied warranties and caused Plaintiff Little Gabriel’s Death.

          62.    By not ensuring against the Failed or Non-Existent Safety Measures of

Bus #188, as well as other school busses designed and manufactured by Defendants

throughout the United States, Defendants allowed a defective product to into the

stream of commerce with the State of Texas and throughout the United States, which

caused Plaintiff Little Gabriel’s Death.

                         Bad Faith and Intentional acts to Harm

          63.    Defendants’ design, manufacturer, and placement into the stream of

commerce in Texas and throughout the United States of school busses with Failed or

Non-Existent Safety Measures constitute acts and omissions made in bad faith,

willfulness, malice, and reckless disregard for the true safety of passengers of school

busses.

          64.    Because of Defendants’ awareness of the Failed or Non-Existent Safety

Measures as to the school busses designed, manufactured, and placed into the stream

of commerce in Texas and throughout the United States, Defendants’ actions are

deemed to be intentional acts to harm others.




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                                     Harm to Plaintiffs

          65.    Plaintiff Little Gabriel lost his life as a result of the Failed or Non-

Existent Safety Measures as to Bus #118. All the wonders, past and present, that Little

Gabriel was to experience in the future and which would have shared with others, are

gone forever. Had Plaintiff Little Gabriel survived, Plaintiff Little Gabriel would

have been entitled to bring this request for relief. In his place, now stands the Plaintiff

Estate.

          66.    Plaintiff Little Gabriel’s Death (resulting from the Failed or Non-

Existent Safety Measures as to Bus #118) has caused, and is expected to continue to

cause, serious and permanent physical pain, emotional, mental, and economic harm

to each of the Plaintiffs.

          67.    Plaintiffs Maria and Gabriel were devoted and loving parents of Plaintiff

Little Gabriel. As a result of the Failed or Non-Existent Safety Measures as to Bus

#118 which caused Little Gabriel’s Death, Plaintiffs Maria and Gabriel have suffered

the past and future loss of Little Gabriel’s love, care, maintenance, support, services,

advice, counsel, companionship, and society and will suffer past and future emotional

pain, mental anguish, torment, and suffering as a result of Little Gabriel’s most

untimely death. Such harm was suffered by Plaintiffs Maria and Gabriel in the past

and will be suffered in the future for the rest of their respective lives.

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          68.    Still filled with unbelievable grief as to the death of their precious son

and approaching the second anniversary of his death, Plaintiffs Maria and Gabriel

arranged for a public display of love and remembrance as shown in Exhibit B,

attached hereto and incorporated herein by reference.

          69.    Plaintiff Little Gabriel’s sister and brothers were devoted and loving

siblings of Little Gabriel. As a result of the Failed or Non-Existent Safety Measures

as to Bus #118 which caused Little Gabriel’s Death, Plaintiffs Alexandria, Reuben,

and JDoe have suffered the past and future loss of Little Gabriel’s love, care,

maintenance, support, services, advice, counsel, companionship, and society; and

will suffer past and future emotional pain, mental anguish, torment, and suffering as

a result of Little Gabriel’s most untimely death. Such harm was suffered by Plaintiffs

Alexandria, Reuben, and JDoe in the past and will be suffered in the future for the

rest of their respective lives.

                               Collective Action Allegations

          70.    Considering the Failed or Non-Existent Safety Measures caused by

Defendants, it is likely that there are other students of in the State of Texas and

throughout the United States who have suffered, and are still suffering, as a result of

similar actions of the Defendants. As such, Plaintiffs are representative of the Class

of Members.


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          71.    Pursuit of this lawsuit on behalf of Plaintiffs and the Class Members is

appropriate under Rule 23(a) of the Federal Rules of Civil Procedure because:

                 (1)   the class is so numerous that joinder of all members is
                       impracticable;
                 (2)   there are questions of law or fact common to the class;
                 (3)   the claims or defenses of the representative parties are
                       typical of the claims or defenses of the class; and
                 (4)   the representative parties will fairly and adequately
                       protect the interests of the class.
          72.    Further, pursuit of this matter as a class action for the Class of Members

is appropriate under Rule 23(b) of the Federal Rules of Civil Procedure because:

                 (1)   prosecuting separate actions by or against individual class
                       members would create a risk of:
                       (A)    inconsistent or varying adjudications with
                              respect to individual class members that
                              would establish incompatible standards of
                              conduct for the party opposing the class; or…
                 (2)   the party opposing the class has acted or refused to act on
                       grounds that apply generally to the class, so that final
                       injunctive relief or corresponding declaratory relief is
                       appropriate respecting the class as a whole; or
                 (3)   the court finds that the questions of law or fact common to
                       class members predominate over any questions affecting
                       only individual members, and that a class action is superior
                       to other available methods for fairly and efficiently
                       adjudicating the controversy.




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          73.    As a result of Defendants’ Failed or Non-Existent Safety Measures,

Plaintiffs were forced to engage an attorney and pursue this action to redress such

wrongs.

          74.    All conditions precedent to Plaintiffs bringing these claims have been

met.

                       E. PLAINTIFFS’ CAUSES OF ACTION

          75.    Plaintiffs incorporates by reference the facts set forth in Article D:

GENERAL BACKGROUND hereof.

        COUNT ONE: WRONGFUL DEATH AND SURVIVOR CAUSE OF

                                         ACTION

          76.    As a direct and proximate result of the negligent acts and omissions of

the Defendants (as such acts and omissions are described in Article D of this

complaint), Plaintiff Little Gabriel suffered injuries and damages resulting in Little

Gabriel’s Death. Such acts and omissions of Defendants, therefore, entitle the

Plaintiffs to seek relief pursuant to the Texas Wrongful Death Statute, the Texas Civil

& Practices & Remedies Code, and the Texas Survival Statutes, under which

Plaintiffs now sues.




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          77.    For all the harm suffered by Plaintiffs and caused by the wrongful death

of Little Gabriel, Plaintiffs seek damages of a fair and reasonable sum, against each

of the Defendants.

                     COUNT TWO: INTENTIONAL INFLICTION

                              OF EMOTIONAL DISTRESS

           78.   The acts and omissions of Defendants (as such acts are described in

Article D of this Complaint):

                       (a)   were intentionally and willfully undertaken by
                             Defendants;

                       (b)   were, if not intentional, certainly reckless with no
                             regard for the outcome;

                       (c)   were extreme and outrageous in nature;

                       (d)   have caused emotional distress upon Plaintiffs; and

                       (e)   such emotional stress has been extreme.

          79.    As a result, Defendants have intentionally inflicted emotional distress

upon Plaintiffs, and Defendants, therefore, are liable to Plaintiffs for all actual and

consequential damages, for which Plaintiffs now sue.




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          COUNT THREE: BREACH OF EXPRESSED REPRESENTATIONS

           80.     The acts and omissions of Defendants (as such acts are described in

Article D of this Complaint) violate the express representations made by Defendants

and resulted in Plaintiff Little Gabriel’s Death.

          81.      As a result of the foregoing, Defendants have caused, serious and

permanent physical pain, emotional, mental, and economic harm to each of the

Plaintiffs resulting from Plaintiff Little Gabriel’s Death.

          82.      Defendants, therefore, are liable to Plaintiffs for all such actual and

consequential damages, for which Plaintiffs now sue.

                 COUNT FOUR: BREACH OF EXPRESSED WARRANTIES

           83.     The acts and omissions of Defendants (as such acts are described in

Article D of this Complaint) violate the expressed warranties made by Defendants

and resulted in Plaintiff Little Gabriel’s Death.

          84.      As a result of the foregoing, Defendants have caused, serious and

permanent physical pain, emotional, mental, and economic harm to each of the

Plaintiffs resulting from Plaintiff Little Gabriel’s Death.

          85.      Defendants, therefore, are liable to Plaintiffs for all such actual and

consequential damages, for which Plaintiffs now sue.




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                 COUNT FIVE: BREACH OF IMPLIED WARRANTIES

           86.   The acts and omissions of Defendants (as such acts are described in

Article D of this Complaint) violate the implied warranties made by Defendants and

resulted in Plaintiff Little Gabriel’s Death.

          87.    As a result of the foregoing, Defendants have caused, serious and

permanent physical pain, emotional, mental, and economic harm to each of the

Plaintiffs resulting from Plaintiff Little Gabriel’s Death.

          88.    Defendants, therefore, are liable to Plaintiffs for all such actual and

consequential damages, for which Plaintiffs now sue.

                              COUNT SIX: NEGLIGENCE

           89.   The acts and omissions of Defendants (as such acts are described in

Article D of this Complaint) violate the duties of care owed by Defendants to

Plaintiffs, which resulted in Plaintiff Little Gabriel’s Death.

          90.    As a result of the foregoing, Defendants have caused, serious and

permanent physical pain, emotional, mental, and economic harm to each of the

Plaintiffs resulting from Plaintiff Little Gabriel’s Death.

          91.    Defendants, therefore, are liable to Plaintiffs for all such actual and

consequential damages, for which Plaintiffs now sue.



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                       COUNT SEVEN: GROSS NEGLIGENCE

           92.   The acts and omissions of Defendants (as such acts are described in

Article D of this Complaint) violate the duties of care owed by Defendants to

Plaintiffs to such an extreme that such acts and omissions constitute gross negligence,

which resulted in Plaintiff Little Gabriel’s Death.

          93.    As a result of the foregoing, Defendants have caused, serious and

permanent physical pain, emotional, mental, and economic harm to each of the

Plaintiffs resulting from Plaintiff Little Gabriel’s Death.

          94.    Defendants, therefore, are liable to Plaintiffs for all such actual and

consequential damages, for which Plaintiffs now sue.

                      COUNT EIGHT: DEFECTIVE PRODUCT

           95.   The acts and omissions of Defendants (as such acts are described in

Article D of this Complaint) resulted in Defendants’ entry of a defective product into

the stream of commerce of Texas and throughout the United States, which resulted

in Plaintiff Little Gabriel’s Death.

          96.    As a result of the foregoing, Defendants have caused, serious and

permanent physical pain, emotional, mental, and economic harm to each of the

Plaintiffs resulting from Plaintiff Little Gabriel’s Death.




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          97.    Defendants, therefore, are liable to Plaintiffs for all such actual and

consequential damages, for which Plaintiffs now sue.

                      COUNT NINE: STRICT TORT LIABILITY

           98.   The acts and omissions of Defendants (as such acts are described in

Article D of this Complaint) constitute acts and omissions constituting strict tort

liability, which resulted in Plaintiff Little Gabriel’s Death.

          99.    As a result of the foregoing, Defendants have caused, serious and

permanent physical pain, emotional, mental, and economic harm to each of the

Plaintiffs resulting from Plaintiff Little Gabriel’s Death.

          100. Defendants, therefore, are liable to Plaintiffs for all such actual and

consequential damages, for which Plaintiffs now sue.

                   COUNT TEN: STRICT PRODUCTS LIABILITY

           101. The acts and omissions of Defendants (as such acts are described in

Article D of this Complaint) constitute acts and omissions constituting strict products

liability, which resulted in Plaintiff Little Gabriel’s Death.

          102. As a result of the foregoing, Defendants have caused, serious and

permanent physical pain, emotional, mental, and economic harm to each of the

Plaintiffs resulting from Plaintiff Little Gabriel’s Death.



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          103. Defendants, therefore, are liable to Plaintiffs for all such actual and

consequential damages, for which Plaintiffs now sue.

                          COUNT ELEVEN: CONSPIRACY

           104. The acts and omissions of Defendants (as such acts are described in

Article D of this Complaint) constitute acts and omissions of the Defendants acting

in concert with the intent to harm others, which resulted in Plaintiff Little Gabriel’s

Death.

          105. As a result of the foregoing, Defendants have caused, serious and

permanent physical pain, emotional, mental, and economic harm to each of the

Plaintiffs resulting from Plaintiff Little Gabriel’s Death.

          106. Defendants, therefore, are liable to Plaintiffs for all such actual and

consequential damages, for which Plaintiffs now sue.

                   COUNT TWELVE: EXEMPLARY DAMAGES

          107. The acts and omissions of Defendants were intentionally, maliciously,

willfully, or recklessly executed against Plaintiff Little Gabriel and the other

Plaintiffs, which resulted in Plaintiff Little Gabriel’s Death.

          108. As such, Defendants are liable for exemplary damages allowed by Texas

jurisprudence and the Texas Civil Practice and Remedies Code, for which Plaintiffs

now sue in the amount of $100,000,000.00.


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                 COUNT THIRTEEN: POST JUDGMENT INTEREST

          109. Plaintiffs also request pre and post judgment interest as may be allowed

by Texas law.

                     COUNT FOURTEEN: ATTORNEYS’ FEES

          110. Plaintiffs should be awarded reasonable and necessary attorneys’ fees

incurred in relation to the prosecution of this lawsuit.

                              F.    REQUEST FOR JURY

          111. Plaintiffs hereby exercise their right in this proceeding to demand that a

jury be empaneled, and, that the foregoing causes of actions and requests for relief be

presented to such jury for resolution, with any required such fee being tendered

herewith.

                                      G.   PRAYER

          WHEREFORE, PREMISES CONSIDERED, Plaintiffs the ESTATE OF

GABRIEL MIRANDA., JR. MARIA FUENTES, GABRIEL MIRANDA, Sr.,

ALEXANDRIA SUZANNE DELEON, REUBEN ANTONIO DELEON III, and

JON HIDALGO DOE pray that summons be issued; that Defendants be cited to

appear, that the Class of Members of be certified; and that upon final trial hereof, that

judgment be entered in favor of Plaintiffs and the Class of Members for the damages

set forth herein; that Plaintiffs be reimbursed their reasonable and necessary

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attorneys’ fees required to bring this matter; that all costs of Court be taxed against

Defendants; and that Plaintiffs have such further and other relief, general and special,

both at law or in equity, to which each may show themselves to be justly entitled.

          Respectfully submitted,

                                        GORMAN LAW FIRM, pllc



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                                        MIRANDA, Jr., DECEASED, MARIA
                                        FUENTES, GABRIEL MIRANDA, Sr.,
                                        ALEXANDRIA SUZANNE DELEON,
                                        REUBEN ANTONIO DELEON III, and
                                        JON HIDALGO DOE




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                               EXHIBIT “A”
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                               EXHIBIT “B”
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